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    In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                          No. 14-522V
                                    Filed: January 22, 2015
                                       Not for Publication

*************************************
AL LESEAN SUTTON,                           *
                                            *
               Petitioner,                  *
                                            *                    Damages decision based on proffer;
v.                                          *                    influenza (flu) vaccine; brachial
                                            *                    neuritis
SECRETARY OF HEALTH                         *
AND HUMAN SERVICES,                         *
                                            *
               Respondent.                  *
                                            *
*************************************
Jean S. Martin, Wilmington, NC, for petitioner.
Michael P. Milmoe, Washington, DC, for respondent.

MILLMAN, Special Master


                              DECISION AWARDING DAMAGES 1

        On June 20, 2014, petitioner filed a petition under the National Childhood Vaccine Injury
Act, 42 U.S.C. §§ 300aa-10–34 (2006), alleging that he suffered a shoulder injury as a result of
the influenza (“flu”) vaccination he received on October 27, 2011. On November 5, 2014,
respondent orally conceded that petitioner suffered brachial neuritis and was entitled to
compensation.


1
  Because this decision contains a reasoned explanation for the special master's action in this case, the
special master intends to post this decision on the United States Court of Federal Claims's website, in
accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002). Vaccine Rule 18(b) states that all decisions of the special masters will be made available to the
public unless they contain trade secrets or commercial or financial information that is privileged and
confidential, or medical or similar information whose disclosure would constitute a clearly unwarranted
invasion of privacy. When such a decision is filed, petitioner has 14 days to identify and move to redact
such information prior to the document=s disclosure. If the special master, upon review, agrees that the
identified material fits within the banned categories listed above, the special master shall redact such
material from public access.
                                                    1
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        On January 22, 2015, respondent filed Respondent’s Proffer on Award of Compensation.
The undersigned finds the terms of the proffer to be reasonable. Based on the record as a whole,
the undersigned finds that petitioner is entitled to the award as stated in the proffer. Pursuant to
the terms stated in the attached proffer, the court awards a lump sum payment of $100,000.00,
representing all elements of compensation to which petitioner would be entitled under 42 U.S.C.
§ 300aa-15(a). The award shall be in the form of a check for $100,000.00 made payable to
petitioner.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith. 2


IT IS SO ORDERED.


Dated: February 13, 2015                                                    /s/ Laura D. Millman
                                                                              Laura D. Millman
                                                                                Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
